          Case 22-60043 Document 277 Filed in TXSB on 11/16/22 Page 1 of 1




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                             §
                                                    §
 FREE SPEECH SYSTEMS, LLC,                          §       Case No. 22-60043
                                                    §
                                DEBTOR.             §       Chapter 11 (Subchapter V)
                                                    §


 NOTICE OF WITHDRAWAL OF MOTION FILED BY THE DEBTOR AT ECF # 275

          PLEASE TAKE NOTICE that Free Speech Systems, LLC, hereby withdraws Emergency

Motion Seeking Entry of an Order Authorizing the Debtor to Enter into a Fulfillment Agreement

[Dkt. 276] filed on November 15, 2022. The pleading was filed in error and was corrected by

filing a Motion of the same title at [Dkt 276].

          Respectfully submitted this November 16, 2022.

                                              THE LAW OFFICES OF RAY BATTAGLIA, PLLC.
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                                              By: /s/ Raymond W. Battaglia
                                                    Raymond W. Battaglia
                                                    Texas Bar No. 01918055

                                                  ATTORNEYS FOR THE DEBTOR IN
                                                  POSSESSION



                                CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court and served
electronically upon those parties registered to receive electronic notice via the Court’s CM/ECF
system.

                                              /s/ Raymond W. Battaglia
                                              Raymond W. Battaglia
